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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SHARON WILSON,                                 )
                                               )
               PLAINTIFF,                      )
                                               )       Case No. 14-cv-5111
               v.                              )
                                               )       Honorable Andrea R. Wood
PORTFOLIO RECOVERY                             )
ASSOCIATES, LLC, and BLATT,                    )       Magistrate Judge Sidney I. Schenkier
HASENMILLER, LEIBSKER &                        )
MOORE, LLC,                                    )
                                               )
                DEFENDANTS.                    )

                           NOTICE OF VOLUNTARY DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED to by Plaintiff and Plaintiff’s attorney,
that pursuant to Rule 41(a) (1) (A) (i) of the Federal Rules of Civil Procedure, the above-titled
action against Defendants shall be and hereby is dismissed without prejudice and on the merits,
with each side to bear its own fees and costs. However, if this case is not refiled within 45 days
of the filing of this stipulation, Plaintiff respectfully requests that this Honorable Court then
dismiss the case with prejudice and on the merits, with each side to bear its own fees and costs.



Dated: December 19, 2014                                       Respectfully submitted,


                                                               By:     /s/ Bryan Paul Thompson

Michael Wood
Andrew Finko
Bryan Thompson
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                                  CERTIFICATE OF SERVICE

       I, Bryan Paul Thompson, an attorney, hereby certify that on December 19, 2014, I

electronically filed the foregoing Notice of Dismissal using the CM/ECF system, which will send

notification of such filing to all registered participants on the system.


 Dated: December 19, 2014                                                    Respectfully submitted,


                                                                    By:     /s/ Bryan Paul Thompson

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Bryan Thompson
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